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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT, ILLINOIS

PHYSICIANS HEALTHSOURCE, INC., an
Ohio corporation, individually and as the
representative of a class of similarly-situated

persons,

Plaintiff, Case No, l:l6-CV-07474

v.
Judge Matthew F. Kennelly

GROUP, PLLC, a l\/Iiehigan professional
limited liability company, R.X.N.B., INC.,
a Nevada corporation, RXNBI LLC, a
Nevada limited liability company, and
JOI-IN DOES 1-5,

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WELLNESS MEDICAL PROTECTION )
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Defendants, )

JOINT STIPUL_ATION OF DISMISSAL
Pursuant to Federal Rule of Civil Procedure 4l(a)(1)(A)(ii), Plaintiff, PHYSICIANS
I-[EALTHSOURCE, INC., and Defendant, WELLNESS MEDICAL PROTECTION GROUP,
PLLC, through their undersigned attorneys, hereby stipulate to the dismissal Of this action with

prejudice as to Defendants, WELLNESS MEDICAL PROTECTION GROUP, PLLC., R.X.N.B,,

INC. and RXNBI LLC, and Without prejudice as to the members of the putative class.

ANDE ’_+ WA CA LIT IELD CAVO EI:P
By: d ' By:
Brian J. Wanca Jaso E. Hu.nter

 

 

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Proz‘ecl‘z'on Group

 

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CERTIFICATE OF SERVICE

l hereby certify that on November 23, 2016, l electronically filed the foregoing With the
Clerk of the Court using the CM/ECF System Which Will Send notification of such filing to all
attorneys of record.

s/ Brian J. Wanca

 

